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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No.

  Colorado Colitas LLC, a Colorado
  limited liability company;
  CSW Consulting, Inc. d/b/a Herbal Remedies,
  a Colorado corporation; and,
  Carl S. Wemhoff, an individual.

  Petitioners,

  V.

  UNITED STATES OF AMERICA,
  through its agency the INTERNAL
  REVENUE SERVICE,

  Respondent.


                              DECLARATION OF CARL WEMHOFF


           Pursuant to 28 U.S.C. §1746, Carl Wemhoff makes the following declaration:

  1. I am Carl Wemhoff, owner of CSW Consulting, Inc. ("CSW"), a Colorado corporation in

       good standing. I am also the owner of Colorado Colitas, LLC, d/b/a Herbal Remedies

       ("Herbal Remedies"), a Colorado limited liability company in good standing. I am authorized

       to speak on behalf of CSW and Herbal Remedies in the above-referenced matter.

  2. I have personal knowledge of the facts stated herein.

  3. I understand that this Declaration will be submitted to the Court in support of the Petitioners'

       Petition to Quash.

  4. On or about August 3, 2017, I received an Information Document Request for 2013 , 2014,

       and 2015 documents for CSW. The auditor, David Hewell, requested a variety of items,

       including copies of the 2013, 2014, and 2015 METRC Annual Sales Report.
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  5. On or about September 27, 2017, Mr. Hewell issued another document request to CSW for

      additional documents.

  6. I received no communication from Mr. Hewell regarding my audit from September to

      December 2017.

  7. A third request was issued to CSW on or about December 19, 2017 for additional 2013,

      2014, and 2015 documents, as well as 2016 documents. This request includes copies of the

     2013, 2014, 2015, and 2016 METRC Annual Sales Report, as well as the 2016 METRC

     Transfer Report. A similar request was made to Carl Wemhoff on December 19, 2017.

  8. In the summonses at issue, Mr. Hewell requested banking information from U.S . Bank

     National Association and Wells Fargo Bank for the period of January 1, 2013 through

     December 31, 2016.

  9. Mr. Hewell also requested the following from the Colorado Department of Revenue,

     Marijuana Enforcement Division in regard to CSW and Herbal Remedies: Copy of the

     METRC Annual Gross Sales Report for the period of January 1, 2013 through December 31,

     2016; Copy of the METRC Transfers Report for the period of January 1, 2013 through

     December 31, 2016; Copy of the METRC Annual Harvest Report for the period of January 1,

     2013 through December 31, 2016; Copy of the METRC Monthly Plants Inventory Report for

     the period of January 1, 2013 through December 31, 2016; and "all associated licensees

     related to the individuals and entities listed" for the period of January 1, 2013 through

     December 31, 2016.

  10. The reports requested in the summonses are not reports that are created in the ordinary course

     of business by CSW, Herbal Remedies, or any of the partners or employees.




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  11. To my knowledge, these reports are not reports that are ordinarily created by the Marijuana

      Enforcement Division of the State of Colorado.

  12. I have no information to show that these reports were in existence on the date the summons

     was issued.

  13. I am asserting my Fifth Amendment privilege.

  14. CSW and I have fully cooperated with Mr. Hewell and the IRS during the audits.

  15. I declare under penalty of perjury that the foregoing is true and correct.



  Dated this 7th day of February, 2018




                                                       By:




                                                       Carl




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